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    8 VIZIO, Inc.

    9
                                   UNITED STATES DISTRICT COURT
   10
                                  CENTRAL DISTRICT OF CALIFORNIA
   11
      SOFTWARE FREEDOM                              CASE No. 8:21-cv-01943
   12 CONSERVANCY, INC., a New York Non-
      Profit Corporation                            DECLARATION OF MICHAEL E.
   13                                               WILLIAMS IN SUPPORT OF DEFENDANT
                     Plaintiff,                     VIZIO, INC.’S OPPOSITION TO
   14                                               PLAINTIFF SOFTWARE FREEDOM
   15         vs.                                   CONSERVANCY, INC.’S MOTION TO
                                                    REMAND
   16 VIZIO, INC., a California Corporation; and

   17 DOES 1 to 50, Inclusive,

   18                Defendants.

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                                                                             Case No. 8:21-cv-01943
                                                       DECLARATION OF MICHAEL E. WILLIAMS ISO
                                       DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION TO REMAND
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    1                          DECLARATION OF MICHAEL E. WILLIAMS

    2          1.      I am a member of the bar of the State of California and the Central District of

    3   California. I am a partner at Quinn Emanuel Urquhart & Sullivan, LLP, attorneys for defendant

    4   VIZIO Inc. I make this declaration of personal, firsthand knowledge, and if called and sworn as a

    5   witness, I could and would testify competently hereto.

    6          2.      Attached as Exhibit 1 is a true and correct copy of a webpage titled “Frequently

    7   Asked Questions about the GNU Licenses” downloaded from the Free Software Foundation

    8   website on March 26, 2022, accessible at https://www.gnu.org/licenses/gpl-faq.en.html.

    9          3.      Attached as Exhibit 2 is a true and correct copy of a letter from Denver Gingerich

   10   at the Software Freedom Conservancy to Jerry Huang, General Counsel of VIZIO, Inc., dated

   11   August 7, 2018, and titled “Copyright Infringement by D24f-F1 Television and XR6P Tablet.”

   12          4.      Attached as Exhibit 3 is a true and correct copy of an email from Denver Gingerich

   13   to Aaron Fennimore of VIZIO, Inc., dated November 1, 2018, and titled “Re: Copyright

   14   Infringement by D24f-F1 Television and XR6P Tablet.”

   15          5.      Attached as Exhibit 4 is a true and correct copy of an email from Denver Gingerich

   16   to Aaron Fennimore, dated April 18, 2019, and titled “Re: [EXTERNAL] Vizio - D24f-F1 -

   17   Round 1 (‘Re: Copyright Infringement by D24f-F1 Television and XR6P Tablet’).”

   18          6.      Attached as Exhibit 5 is a true and correct copy of a collection of screenshots taken

   19   from a VIZIO television showing step-by-step navigation to the “License List” menu on the user

   20   interface of the television.

   21          7.      Attached as Exhibit 6 is a true and correct copy of an email from Denver Gingerich

   22   to Aaron Fennimore, dated November 8, 2019, and titled “Vizio - D24f-F1 - Round 5 (‘Re:

   23   Copyright Infringement by D24f-F1 Television and XR6P Tablet’).”

   24          8.      Attached as Exhibit 7 is a true and correct copy of an email from Denver Gingerich

   25   to Aaron Fennimore, dated November 27, 2019, and titled “Re: [EXTERNAL] Vizio - D24f-F1 -

   26   Round 6 (‘Re: Copyright Infringement by D24f-F1 Television and XR6P Tablet’).”
   27          9.      Attached as Exhibit 8 is a true and correct copy of a webpage titled “Vizio Lawsuit

   28   Q & A” downloaded from the Software Freedom Conservancy website on March 26, 2022,

                                                        -1-                     Case No. 8:21-cv-01943
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    1   accessible at https://sfconservancy.org/press/qanda.html.

    2         10.     Attached as Exhibit 9 is a true and correct copy of the complaint filed by Software

    3   Freedom Conservancy in Software Freedom Conservancy, Inc. v. Best Buy Co., Case No. 1:09-

    4   cv-10155-SAS (S.D.N.Y. 2009), at Dkt. 1 on December 14, 2009.

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    6         I declare under penalty of perjury under the laws of the United States that the foregoing is

    7 true and correct.

    8         Executed on April 22, 2022 at Los Angeles, California.

    9

   10 DATED: April 22, 2022                     QUINN EMANUEL URQUHART &
                                                SULLIVAN, LLP
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   12
                                                  By /s/ Michael E. Williams
   13                                               Michael E. Williams
                                                    Attorneys for Defendant
   14                                               VIZIO, Inc.

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